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                       UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

                                                  *
UNITED STATES OF AMERICA                          *
                                                  *
                v.                                *       CR 1:17-34
                                                  *
Reality Leigh Winner                              *
                                                  *
           Defendant                              *
                                            *************

         GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR BILL OF
                             PARTICULARS

    I.       INTRODUCTION

          On November 27, 2017, the Defendant filed a motion for leave to file her motion for a

bill of particulars, and attached her motion for a bill of particulars (Dkt. Nos. 165 and 165-1).

The Defendant’s motion itself is without merit. The indictment and other information provided

to the Defendant are more than adequate to allow her to prepare her defense, to minimize

surprise at trial, and to enable her to plead double jeopardy in the event of a later prosecution for

the same offense. United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986).

Accordingly, this Court should deny the Defendant’s motion for a bill of particulars.

    II.      LEGAL STANDARD

          Pursuant to Federal Rule of Criminal Procedure 7(f), a “court may direct the government

to file a bill of particulars.” A defendant, however, is not entitled to a bill of particulars as a

matter of right. Wong Tai v. United States, 273 U.S. 77, 82 (1927). The purpose of a bill of



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particulars has been described as “threefold: ‘to inform the defendant of the charge against him

with sufficient precision to allow him to prepare his defense, to minimize surprise at trial, and to

enable him to plead double jeopardy in the event of a later prosecution for the same

offense.’” Anderson, 799 F.2d at 1441 (quoting United States v. Cole, 755 F.2d 748, 760 (11th

Cir. 1985)); see also United States v. Colson, 662 F.2d 1389, 1391 (11th Cir. 1981) (“The

purpose of a bill of particulars is to inform the defendant of the charge in sufficient detail to

enable adequate defense preparation and to minimize surprise at trial.”). If an indictment is

insufficient, a bill of particulars may “supplement” the indictment “by providing the defendant

with information necessary for trial preparation.” Anderson, 799 F.2d at 1441.

       In accordance with the standard above, an indictment is sufficient, and a bill of

particulars unnecessary, if the indictment provides information that allows the defendant to

prepare a defense, avoid surprise, and plead double jeopardy. Moreover, it is well recognized

that “[g]eneralized discovery” is not a proper purpose for seeking a bill of particulars, United

States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985), and that “[t]he purpose is not to provide

detailed disclosure before trial of the Government’s evidence.” United States v. Sherriff, 546

F.2d 604, 606 (5th Cir. 1977); see also Colson, 662 F.2d at 1391; United States v. Davis, 582

F.2d 947, 951 (5th Cir. 1978).1




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  See Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc) (adopting for
the Eleventh Circuit as binding precedent all decisions rendered by the United States Court of
Appeals for the Fifth Circuit prior to September 30, 1981).


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    III.         ARGUMENT

           Because the indictment in this case provides the Defendant with sufficient information to

prepare her defense, avoid surprise, and plead double jeopardy—and particularly in light of the

government’s notice filed pursuant to Section 10 of the Classified Information Procedures Act

(CIPA), 18 U.S.C. App. III—the Court should deny the Defendant’s request for a bill of

particulars.

           On June 7, 2017, a federal grand jury empaneled in the United States District Court for

the Southern District of Georgia returned a one-count indictment against the Defendant (Dkt. No.

13). On September 6, 2017, the Defendant was charged in a superseding indictment that did not

differ substantively from the original indictment (Dkt. No. 72; hereinafter, “Superseding

Indictment”). The Superseding Indictment charges the Defendant with the Willful Retention and

Transmission of National Defense Information, in violation of Title 18, United States Code,

Section 793(e). Section 793(e) provides as follows:

           Whoever having unauthorized possession of, access to, or control over any
           document, writing, code book, signal book, sketch, photograph, photographic
           negative, blueprint, plan, map, model, instrument, appliance, or note relating to
           the national defense, or information relating to the national defense which
           information the possessor has reason to believe could be used to the injury of the
           United States or to the advantage of any foreign nation, willfully communicates,
           delivers, transmits or causes to be communicated, delivered, or transmitted, or
           attempts to communicate, deliver, transmit or cause to be communicated,
           delivered, or transmitted the same to any person not entitled to receive it, or
           willfully retains the same and fails to deliver it to the officer or employee of the
           United States entitled to receive it

           ...

           [s]hall be fined under this title or imprisoned not more than ten years, or both.


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18 U.S.C. § 793(e). Accordingly, to convict a defendant of violating 18 U.S.C. § 793(e) for

communicating, delivering, or transmitting, or for retaining, a “document,” the government is

required to prove beyond a reasonable doubt that: (1) the defendant had unauthorized possession

of a document; (2) the document related to the national defense; and (3) the defendant willfully

communicated, delivered, or transmitted the document to a person not entitled to receive it, or

willfully retained the document and failed to deliver it to the officer or employee of the United

States entitled to receive it. Id.; see also Dkt. No. 122 at 2-3.

       The Superseding Indictment alleges that on or about May 9, 2017, the Defendant printed

and improperly removed classified intelligence reporting, which contained information relating

to the national defense that was closely held by the government—specifically, intelligence

reporting dated on or about May 5, 2017, marked TOP SECRET//SENSITIVE

COMPARTMENTED INFORMATION (SCI), that describes intelligence activities by a foreign

government directed at targets within the United States. The Superseding Indictment further

alleges the Defendant unlawfully transmitted the intelligence reporting to an online news outlet,

which was not entitled to receive or possess the intelligence reporting.

        The Superseding Indictment therefore both tracks the language of 18 U.S.C. § 793(e),

and provides specific information about the charges pending against the Defendant, including the

date of the offense. See Cole, 755 F.2d at 760 (“The superseding indictment in this case tracked

the language of the statutes involved and adequately informed appellants of the charges pending

against them.” (citing Wong Tai, 273 U.S. 77)). Moreover, the government has identified and



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provided to the Defendant in classified discovery the intelligence reporting described in the

Superseding Indictment. See United States v. Urban, 404 F.3d 754, 772 (3d Cir. 2005)

(explaining that access to discovery “weakens” the case for a bill of particulars).

         Furthermore, the specific relief that the Defendant requests in her motion for a bill of

particulars is for the government to “be required to inform the Defendant which portions of the

classified intelligence reporting described in the Superseding Indictment it contends are ‘national

defense information’ under the charged statute with sufficient precision to allow Ms. Winner to

prepare her defense and to minimize surprise at trial.” Dkt. No. 165-1 at 1; see also id. at 3, 4.

Pursuant to Section 10 of CIPA, the government is required to notify the Defendant of “the

portions of the material that it reasonably expects to rely upon to establish the national defense or

classified information element of the offense.” 18 U.S.C. App. III § 10. On December 14, 2017,

the government, in a classified filing, provided such information to the Defendant. See Dkt. No.

182. To the extent the government has provided the requested information through its CIPA

Section 10 Notice, the Court should deny the Defendant’s motion as moot. Cf. United States v.

Gowadia, No. 1:05-cr-486-SOM-KSC, at Dkt. No. 265 (D. Haw. Jan. 22, 2009) (denying the

defendant’s motion for a bill of particulars in part based on the government’s CIPA Section 10

notice). To the extent that she is requesting other information, she is not entitled to it for the

reasons explained herein.

   IV.      CONCLUSION

         As set forth above, the government has provided to the Defendant more than sufficient

information to allow the Defendant to prepare her defense, minimize surprise at trial, and to


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enable her to plead double jeopardy in the event of a future prosecution. Accordingly, this Court

should deny the Defendant’s motion for a bill of particulars.



                                             Respectfully submitted,

                                             BOBBY L. CHRISTINE
                                             UNITED STATES ATTORNEY

                                             //s// Jennifer G. Solari

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                                             Assistant United States Attorney


                                             //s// David C. Aaron

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                                             National Security Division

                                             //s// Julie Edelstein

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                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in accordance

with the notice of electronic filing (“NEF”) which was generated as a result of electronic filing in

this Court.

       This 18th day of December 2017.


                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              //s// Julie A. Edelstein

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